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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
                              (SOUTHERN DIVISION - SANTA ANA)



           JOHN C. EASTMAN,                    ) CASE NO: 8:22-CV-00099-DOC-DFM
                                               )
                             Plaintiff,        )             CIVIL
                                               )
                vs.                            )     Santa Ana, California
                                               )
           BENNIE G. THOMPSON, ET AL.,         )    Monday, January 24, 2022
                                               )   (2:22 p.m. to 3:35 p.m.)
                             Defendants.       )   (4:00 p.m. to 4:18 p.m.)
                                                   (4:32 p.m. to 4:40 p.m.)
                                                   (4:56 p.m. to 5:12 p.m.)


                                           HEARING RE:

                PLAINTIFF DR. JOHN EASTMAN S APPLICATION FOR TEMPORARY
                     RESTRAINING ORDER AS TO SUBPOENA [DKT.NO.2];

                               PRODUCTION AND PRIVILEGE LOG


                          BEFORE THE HONORABLE DAVID O. CARTER,
                               UNITED STATES DISTRICT JUDGE



           APPEARANCES:                SEE PAGE 2


           Court Reporter:             Recorded; CourtSmart


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                                                                                   2

           APPEARANCES:


           For Plaintiff:              CHARLES BURNHAM, ESQ.
                                       Burnham & Gorokhov, PLLC
                                       1424 K Street NW
                                       Suite 500
                                       Washington, DC 20005
                                       202-386-6920

                                       ANTHONY T. CASO, ESQ.
                                       Constitutional Counsel Group
                                       174 W. Lincoln Avenue
                                       No. 620
                                       Anaheim, CA 92805
                                       916-601-1916

           Also present:               DR. JOHN C. EASTMAN

           For Defendants:             DOUGLAS N. LETTER, ESQ.
                                       Office of General Counsel
                                       U.S. House of Representatives
                                       5140 O Neill House Office Building
                                       Washington, DC 20515
                                       202-225-9700

                                       FRED M. PLEVIN, ESQ.
                                       Paul Plevin Sullivan & Connaughton
                                       101 West Broadway
                                       9th Floor
                                       San Diego, CA 92101

           Also present:               JANINE DUMONTELLE
                                       PHILLIP LYLE




                           EXCEPTIONAL REPORTING SERVICES, INC
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       1      Santa Ana, California; Monday, January 24, 2022; 2:22 p.m.

       2                    (Remote and courtroom appearances)

       3                                 Call to Order

       4                THE COURT:    First of all, good -- well, good

       5   afternoon.

       6                MR. BURNHAM:    Good afternoon, Judge.

       7                THE COURT:    And we re on the record in Case Number

       8   22-00099, Titled, John Eastman versus Bernie [sic] Thompson.

       9                And if I could start slowly on behalf of the

      10   plaintiffs or petitioners in this matter.

      11                MR. BURNHAM:    Good afternoon again, Your Honor.

      12                THE COURT:    With your identification.    You just can

      13   remain seated, please.

      14                MR. BURNHAM:    Good afternoon again, Your Honor.

      15   Charles Burnham here on behalf of Dr. John Eastman.

      16                THE COURT:    All right.   And?

      17                MR. CASO:    And Anthony Caso, Your Honor.

      18                THE COURT:    Anthony Caso.   And you are John Eastman,

      19   obviously, and you re present in court today.

      20                MR. BURNHAM:    Good to see, Judge.

      21                THE COURT:    All right.   Thank you.

      22                And then on behalf of the responding party.

      23                MR. PLEVIN:    Good afternoon, Your Honor.     Fred Plevin

      24   representing Chapman University.

      25                THE COURT:    All right.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1               MR. PLEVIN:   I also wanted to note for the Court that

       2   on Zoom, but not on the panel, are Chapman s vice president and

       3   general counsel, and an assistant vice president of information

       4   technology in case the Court has a need to hear anything from

       5   them.

       6               THE COURT:    All right.   And their names, please, for

       7   the record.

       8               MR. PLEVIN:    Janine DuMontelle is the vice president

       9   and general counsel, and Phillip Lyle is the assistant vice

      10   president for information technology.        They re both together

      11   identified on the Zoom as Janine DuMontelle.

      12               THE COURT:    All right.   Thank you so much.     And then

      13   on behalf of the Select Committee?

      14               MR. LETTER:    Good afternoon, Your Honor.      This is

      15   Douglas Letter.     I m the general counsel of the United States

      16   House of Representatives appearing on behalf of the Committee

      17   and the Chairman.

      18               And Your Honor, I m sorry.     I might not have heard

      19   properly.     I thought maybe you said    Bernie    Thompson; its

      20   Bennie Thompson --

      21               THE COURT:    Oh, I see.

      22               MR. LETTER:    -- obviously, the name of the Chairman.

      23               THE COURT:    My apologies.

      24               First, I received Dr. Eastman s application for a

      25   temporary restraining order Thursday, a few days ago, on
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   January 20th, about 5:30 p.m., and I want to express the

       2   Court s appreciation to all counsel for working the nights and

       3   throughout the weekend on this matter.

       4               And I d like to begin by giving 10 minutes to each

       5   party for your oral argument, and then I may take a brief

       6   recess if I have questions and follow up questions.

       7               So, counsel.    You can remain seated if you d like to.

       8               MR. BURNHAM:     Thank you, Your Honor.    I ll start -- I

       9   submitted a brief to readdress the factors for temporary

      10   restraining order.     I won t repeat that, but I ll expand a

      11   little bit on what I see as the most critical issues.

      12               Starting with the likelihood of success, we raised a

      13   number of issues in our complaint, but I think the most salient

      14   and the one we focused most on the briefs at the TRO stage is

      15   the attorney-client privilege, which is also the most urgent in

      16   our view.

      17               And so somewhat surprisingly to us anyway, the

      18   Government, in a --

      19               THE COURT:     Just a little slower.

      20               MR. BURNHAM:     All right.   I m trying to get it all in

      21   in 10 minutes.    I ll go slower.

      22               The Government, in a way, seems to be contesting

      23   either the very existence of attorney-client privilege

      24   information in the responsive documents and materials to the

      25   subpoena, or the fact that we ve identified enough -- with
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   enough particularity, whatever privileged information might be

       2   in there.

       3                So, I ll address that to begin with.      And I think it

       4   should be an obvious fact from multiple sources that there s

       5   privileged information responsive to the subpoena.

       6                THE COURT:   Now you ve dropped your voice.      I can see

       7   real time, and we didn t get that.       Please repeat that.

       8                MR. BURNHAM:   I think it should be obvious from a

       9   number of sources that there is a great deal of attorney-

      10   privilege and work product information that s potentially

      11   responsive to the subpoena, and we know that from a number of

      12   sources.

      13                Dr. John Eastman has long been an activist law

      14   professor.    He was never an ivory tower-type professor.        That s

      15   the very reason the Committee is interested in him in their

      16   investigation, because he was representing the President of the

      17   United States in a number of matters.

      18                The Chapman website continues to advertise his legal

      19   work.   His briefs are all over Pacer, they re all over the

      20   Internet.    Even the Government itself talks about his work as a

      21   lawyer while at Chapman, so it shouldn t be a subject of great

      22   dispute here today that the subpoena does seek --

      23                THE CLERK:   Slow down for us.

      24                MR. BURNHAM:   -- I m sorry?

      25                THE CLERK:   Slow down.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1                MR. BURNHAM:   That the subpoena does seek privilege

       2   materials.

       3                Now, turning from there to the Government s claim

       4   that we didn t respond with enough specificity in identifying

       5   privilege materials, that s sort of the whole point of this

       6   case is we didn t have an opportunity to do so because of the

       7   timeline of the Government s service of the subpoena with such

       8   a short window to respond to it, and the fact that neither

       9   Chapman nor the Select Committee was willing to give us access

      10   to the documents.

      11                So, we think that claim fails as well and, in fact,

      12   that s not the only claim the congressional defendants make.

      13   They --

      14                THE COURT:   Okay.    During your opening, I d like to

      15   hear what that timeframe was.

      16                I have your briefing, but I want to make certain I

      17   understand the claim that the subpoena first issued last

      18   Tuesday, January 18th, with a timeline of Friday, January 21st

      19   at 7:00 a.m. Pacific time; is that correct?

      20                MR. BURNHAM:   That s right.    That s right.

      21                THE COURT:   All right.    Please continue.

      22                MR. BURNHAM:   And the subpoena was emailed to me, I

      23   think, in the early evening of the 18th itself.         I didn t see

      24   it until the next morning.        It was some, you know, 9:00 or

      25   10:00 o clock the next morning, I realized the subpoena was
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   there.

       2              To the extent the Court considers it relevant, I m

       3   more than happy to go into sort of the preliminary discussions

       4   prior to the subpoena about the subject that the briefs allude

       5   to.   I don t think that s relevant, but I m ready to address it

       6   should the Court have any questions.       But the timeline, yes,

       7   was as Your Honor stated it.

       8              So, even if we -- even if we had had access to the

       9   potentially responsive materials, which apparently consist of

      10   some 20,000 responsive documents, there was no way we were

      11   going to be able to come up with any kind of a detailed

      12   privilege claim in that timeframe.       But the more important fact

      13   is we simply didn t even have access to the materials, and we

      14   don t to this day.

      15              The congressional defendants also argue that even if

      16   there is attorney-client privilege as we contend, that any

      17   privilege has been waived.      And they make two basic arguments,

      18   two basic waiver arguments; one having to do with the Chapman

      19   University email system --

      20              THE COURT:    Just a moment.    Yeah.   Do you have it?

      21              THE CLERK:    No.

      22              THE COURT:    It s just a little too quick, counsel.

      23   So, if you want a good record, please.

      24              MR. BURNHAM:    Sure.

      25              THE COURT:    One has to do with Chapman s email
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   system.

       2              MR. BURNHAM:    Email system.     And the second waiver

       3   argument from the congressional defendants relates to public

       4   statements by Dr. Eastman.      So, I ll address them one at a

       5   time.

       6              The congressional defendants       argument that the

       7   privilege was waived based on the Chapman University email

       8   policies that the briefs address is based on a collection of

       9   cases, all of which usually involve an employee who themselves

      10   retain a lawyer and email that lawyer at their work email

      11   address, and perhaps they waived the privilege by doing so.

      12   Not in every case, but in some of the cases, that Government or

      13   private employee has been found to waive their privilege with

      14   their attorney by using their work email, and the analysis

      15   turns on the particularities of the email system involved.

      16              Those cases are inapplicable to the current scenario

      17   for many reasons, two of which I ll focus on here.          The first

      18   is, in each of the cases relied upon by the congressional

      19   defendants, the privilege was waived not by the attorney, but

      20   by the client through using their work email.         The attorney-

      21   client privilege belongs to the client, and so it was the

      22   client s actions that waived the privilege.

      23              None of the cases relied upon by the congressional

      24   defendants deal with the situation we have here where the

      25   argument is that the lawyer waives the privilege.
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       1               In addition to that, and I think more importantly,

       2   none of the waiver cases relied upon by the congressional

       3   defendants, and of course, by       congressional defendants , I

       4   mean the Committee itself and Chairman Thompson, none of those

       5   cases come from the context we have here, which is a law

       6   school.    That s a completely unique context, and             not the

       7   same as an undergraduate college apart from a law school, or

       8   the U.S. Government, or a private employer.

       9               There s very much a reasonable expectation that law

      10   professors practicing law, and taking clients under the

      11   auspices of their law schools, do so with a reasonable

      12   expectation on the part of themselves and their clients that

      13   those communications are subject to privilege.

      14               That s reinforced by many decades of historical

      15   practice where activists law professors have played such an

      16   important role in developing the law, which continues to this

      17   day.   That s reinforced by public statements on the website of

      18   Chapman University, which runs something like eight clinics to

      19   this day, several of which use       .edu   email addresses.

      20               The Elder Law Clinic, for example, this is publicly

      21   accessible, says to potential clients, it says,          Please   -- I m

      22   quoting here.      Please email us , and then the email is

      23   elderlaw@chapman.edu.      One of the most prominent members of

      24   this Committee, Rep. Raskin, who happens to be my congressman,

      25   practiced law for decades as a professor at American.
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       1               THE COURT:    All right, just one moment.

       2               MR. BURNHAM:    Uh-huh.

       3               THE COURT:    Allow the court reporter to catch up.

       4               MR. BURNHAM:    All right.    I hope I ve tried to slow

       5   down.

       6               THE COURT:    Yeah.    And if you need to go to

       7   CourtSmart.

       8               THE CLERK:    I did.

       9               THE COURT:    Did you?

      10               THE CLERK:    Yeah, it s recording.

      11               THE COURT:    Okay.    All right, counsel, please.

      12               MR. BURNHAM:    My final point was that on the subject

      13   of why        reasonable to expect that the law school context

      14   confers a reasonable expectation of privacy was, even a member

      15   of the Select Committee practiced law for many years under the

      16   auspices of the law school where he taught; that s Rep. Raskin.

      17               So, for all of those reasons, we disagree with the

      18   congressional defendants      assertion completely that any use of

      19   a law school email system waived not the client s reasonable

      20   expectation of privilege with respect to their communications

      21   with Dr. Eastman.

      22               The second waiver argument advanced by the

      23   congressional defendants is that certain public statements by

      24   Dr. Eastman on TV shows and such about his representation of

      25   the former President constitute a waiver of the privilege.
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       1                And as an initial matter, that would only apply to

       2   Donald Trump, not any of the other clients that Dr. Eastman

       3   would have handled during the subpoena period.         But even with

       4   respect to President Trump, by no means do any of the

       5   statements made by Dr. Eastman constitute a waiver.

       6                Whenever you have an attorney representing a high-

       7   profile client, and it doesn t get any more high-profile than

       8   the President, it s only natural that part of that attorney s

       9   role will be to speak as appropriate to the press, and this

      10   happens many times where you talk to the client and decide

      11   certain information we ll talk about to the press, certain

      12   items of information we don t.       That happens all the time, and

      13   we re looking at nothing more than that here.

      14                And I go into detail in the briefs about why the

      15   various quotes from podcasts and stuff don t come anywhere

      16   close to constituting a waiver even with respect to the one

      17   client.

      18                So, in sum, Your Honor, as to the attorney-client

      19   privilege issues, I think the likelihood of success is quite

      20   clear.     And the same goes for requirement number two,

      21   irreparable harm.

      22                And here, as I understand the congressional

      23   defendants     arguments as to this factor are very much the same

      24   as their arguments with the first factor, likelihood of

      25   success.     They don t think we re dealing with a privilege claim
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       1   here at all, which is understandable because when you re

       2   dealing with a privilege issue, the irreparable harm, and the

       3   cases bear this out, is the disclosure of the attorney-client

       4   information itself.     We bear no burden to prove that Client A

       5   would be harmed by his information being disclosed because of

       6   his circumstances; that s not how the cases have analyzed this

       7   at all.

       8               Violating the sacred attorney-client privilege itself

       9   is irreparable harm.      The bell cannot be unrung, and that s

      10   what we re seeking to prevent here.        That s the second factor.

      11               The third and fourth factors, the balance of the

      12   equities and the public interest can, to a certain extent, be

      13   treated together, and that s how I ll treat them here for

      14   efficiency.

      15               So, what interest have the congressional defendants

      16   offered to Your Honor to justify why they need this information

      17   so badly?     They rely in their briefs largely on the claimed

      18   importance of the January 6 investigation itself, writ large.

      19               The proper subject of analysis for this Court though

      20   is not the investigation writ large, but the particular items

      21   of evidence at issue here.      Why does the January 6 committee

      22   have such a great interest in the emails from a year ago or two

      23   years ago from Dr. Eastman on his University email address?

      24               The only thing the defendants offer in support of

      25   that question are highly conclusory statements offering no
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       1   specifics, and that s important because as Trump versus

       2   Thompson from the D.C. Circuit reminded us, the purpose of

       3   congressional investigations is not to assist in educating the

       4   public or write history, or certainly not to do anything

       5   partisan.

       6               The purpose of this whole exercise is to give the

       7   members of Congress the information they need to write laws,

       8   write better laws.     And what the defendants have not identified

       9   is why Dr. Eastman s emails will help them impose more criminal

      10   penalties on individuals who misbehave on federal property, or

      11   revise the Electoral Count Act, or any of the legislative

      12   purposes at issue in the Trump versus Thompson case.

      13               They don t show why Dr. Eastman s emails and other

      14   materials are so important to that, which is particularly

      15   salient because Dr. Eastman s role in the 2020 election is

      16   quite well-known, as the defendants themselves emphasize.           He s

      17   not alleged to have entered the Capital or planned to enter the

      18   Capital; he was counsel to the President.

      19               He s spoken at length in multiple fora in print, on

      20   Internet, on TV, about what he did.        It s enough to give me

      21   even more gray hairs than I have now, because there s a lot of

      22   fodder out there for the defendants to pick out statements that

      23   are useful to them as they did in this case.

      24               But based on all the information we know, Dr. Eastman

      25   was simply counsel to the President.        Some people liked his
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       1   legal advice; the Committee didn t particularly care for it,

       2   but they ve offered no particular reason why they need further

       3   information on his legal advice to continue their

       4   investigation.

       5                So, the interest of the defendants, we would submit,

       6   is weak.    That has to be weighed against, in these third and

       7   fourth factor analyses, the important concerns weighing in the

       8   other direction.     Now, what are those?

       9                We submit there s significant concerns here of, I ll

      10   just say, abuse of the congressional subpoena process.           And I

      11   say that not based on my own authority submitted.          I think the

      12   best authority for that is the Budowich case relied on so

      13   heavily by the defendants in their own briefing.          The

      14   transcript for that was submitted just this morning.

      15                And what happened in that case was, the Select

      16   Committee served a subpoena.       It was on a bank in that case

      17   seeking financial records.      It had a pretty short timeline,

      18   although many times longer than our subpoena.         It was a week or

      19   two, and it was extended, and then there was a deadline on

      20   Christmas Eve or something.

      21                And long story short, the defendants received the

      22   documents before the plaintiff could get into court and ask for

      23   a TRO.     The judge in that case saw the problem, and asked --

      24   the defendants     position was once we have the documents, that s

      25   the end of the case.      That was what Mr. Letter argued in that
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       1   case.   And the judge very reasonably said,        Doesn t this create

       2   an incentive for congressional committees to totally evade any

       3   judicial oversight of their subpoenas by including unreasonably

       4   short timelines ?     And in that case, it was about two weeks.

       5               And the response from counsel for the House of

       6   Representatives was,      No, that s not a concern; the Court

       7   doesn t need to be worried about that.        It s going to be fine .

       8               And now, here we are maybe a month later, and Your

       9   Honor is presented with a subpoena to the former attorney to

      10   the President of the United States, of all people, with about a

      11   three-day turnaround time.

      12               So, we would submit that the Budowich case, legally

      13   correct though it may have been, set a troubling precedent that

      14   the January 6 Committee is even now pushing to extremes far

      15   beyond anything confronted in the Budowich case.          And that s an

      16   important consideration here.

      17               Secondly, I ll add just as an addendum to that, I

      18   think        totally legitimate for Your Honor to consider the

      19   effect enforcement of this subpoena will have on the current

      20   and future presidents      decisions to hire private counsel.

      21   Presidents throughout history have turned to the professoriate

      22   for help in legal advice beyond their inhouse lawyers, and if

      23   this subpoena is enforced, that s absolutely a matter of public

      24   concern cognizable by this Court what effect that will have on

      25   future presidents and President Biden.
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       1               And finally,           highly relevant consideration

       2   what effect this will have on the legal academy writ large.              We

       3   rely heavily in our pleadings on a law review article written

       4   some 10 years ago called -- about a ticking time bomb.           And we

       5   cite it several times.

       6               And that s an article by a far-thinking professor who

       7   realized that one day a litigant was going to come into court

       8   armed with a collection of cases relied on by the congressional

       9   defendants where employees waived their privileges by emailing

      10   their lawyers on the job, and try to invade the attorney-client

      11   privilege in the law school setting.        That s why the article is

      12   called a    Ticking Time Bomb , because that problem that Your

      13   Honor is faced with today was foreseen.

      14               And the bomb is about to go off right here in this

      15   courtroom, and the January 6 Committee are the ones lighting

      16   the fuse.     And so, we ask Your Honor simply to defuse the bomb,

      17   and grant our application for the temporary restraining order.

      18               Thank you.

      19               THE COURT:     All right, counsel.    Thank you.   Would --

      20   Mr. Plevin, would you like to respond first on behalf of

      21   Chapman, or Mr. Letter, would you like to respond on behalf of

      22   the Select Committee first?

      23               MR. LETTER:     Your Honor -- Your Honor, this is

      24   Douglas Letter.     I m happy to respond now if that s okay with

      25   Your Honor.
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       1               THE COURT:    Please.   Thank you.

       2               MR. LETTER:    Thank you, Your Honor.

       3               THE COURT:    Would you identify yourself, I certainly

       4   know, who you are and who you represent once again for the

       5   record?

       6               MR. LETTER:    Thank you.   This is Douglas Letter.         I m

       7   the general counsel of the United States House of

       8   Representatives.

       9               Your Honor, I will assume that you or the court

      10   reporter will let me know if I am speaking too quickly.

      11               Your Honor, first, let me just say, we immensely

      12   appreciate the speed with which you are taking this up.           So,

      13   you know, you mentioned -- you thanked us for getting our

      14   briefs done quickly; we thank you for jumping right on this

      15   because time really is of the essence here.

      16               And I m sure it won t surprise you to know that,

      17   frankly, I don t recognize the case that my friend,

      18   Mr. Burnham, is talking about.       It s certainly -- it s very

      19   different from the case that we understand.

      20               So, first, there was an argument made, I think it s

      21   initially in the brief, that Your Honor should find that the

      22   Speaker of the House doesn t know House procedures and House

      23   rules, and they want you to tell her, to instruct her on how

      24   the House runs.     They re saying the Committee, the Select

      25   Committee was not validly appointed, it s not run properly, et
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   cetera.    And again, that the Speaker doesn t really know how to

       2   manage the House.

       3               This was one of the arguments that Judge Boasberg

       4   rejected in the Budowich case in large part, not surprisingly,

       5   because the rules clause of the Constitution provides that each

       6   Chamber sets its own rules, and many courts have recognized

       7   that it really is largely not the role of judges to tell the

       8   House and Senate how to operate themselves.

       9               And that was what Judge Boasberg here in D.C.

      10   concluded, and we thought Your Honor would be interested in

      11   that.

      12               I m not going to spend a whole lot of time on it

      13   because, frankly, it seems like a quite silly argument, and I

      14   think that s probably why Mr. Burnham skipped over it.

      15               Next, we have, they argue that there s no valid

      16   legislative purpose here.      I think I heard my friend,

      17   Mr. Burnham, concede that the D.C. Circuit swatted that aside

      18   very quickly and easily, and the Supreme Court recently

      19   declined the plea by Professor Eastman s client, Mr. Trump, to

      20   review that; the Supreme Court refused to, and left that in

      21   place.

      22               So, I think Mr. Burnham s argument is well,

      23   obviously, there s a valid legislative purpose for the

      24   Committee, and I don t think anybody with a straight face could

      25   possibly argue otherwise.      So, what they re saying is, well,
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       1   there s no valid legislative purpose with regard to

       2   Mr. Eastman s records, Professor Eastman s records.

       3               Well, let s remember who Professor Eastman was or

       4   purported to be sort of the architect of the strategy to

       5   overturn the 2020 election providing these legal memos, as we

       6   understand it, they ve been described at length, to overturn

       7   the presidential election.

       8               And, you know, he s not just an attorney here.         He

       9   was a very public speaker on January 6 itself, the day of the

      10   attack on the Capital.      Professor Eastman spoke at one of those

      11   rallies, making extremely inflammatory statements.

      12               So, this isn t just, you know, somebody who is a

      13   bystander or a lawyer in an ivory tower, as Mr. Burnham said

      14   Professor Eastman is not.

      15               Professor Eastman is extremely relevant to the (audio

      16   glitch) by the Committee, the Select Committee.          In fact, he s

      17   so relevant that we first, starting on November 8th, sought to

      18   get material from him.      And I think Mr. Burnham mentioned this,

      19   but largely it was set aside.       He made it sound like this was

      20   some crazy rushed effort to try to get material before anybody

      21   could reply, which is absolutely not an accurate picture here.

      22               We engaged with Professor Eastman and said that we,

      23   the Committee, wanted these materials, that they were highly

      24   relevant, and Professor Eastman -- and the Committee attempted

      25   to engage in accommodation with Professor Eastman.          We re not
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   stupid.    We knew that there were possibly issues of attorney-

       2   client, et cetera, so we said, let s see if we can work out a

       3   way that we can do this.      Professor Eastman refused to engage.

       4   He just said no.

       5               And then, Professor Eastman really lowered the boom

       6   when he said,     I can t release anything to you ; 146 times he

       7   asserted the Fifth Amendment, privilege against self-

       8   incrimination.

       9               So, we tried.     We tried over an extended period to

      10   work with Professor Eastman to get this material.          It was so

      11   important, and is so central, and in fact, that he s been on

      12   mass media talking about, saying that his client, President

      13   Trump, wants him to talk about it.        It s so important that

      14   President Trump, former President Trump, wants him to talk

      15   about it.

      16               And by the way, one other thing to note, Your Honor,

      17   is the subpoena itself is very limited.        It asks for materials

      18   from a period of from the election to Inauguration Day when

      19   President Trump left office.       So, we tried hard to narrow this.

      20   We also provided Chapman University with search terms to help

      21   narrow it, but Professor Eastman refused to engage with us.              So

      22   what did we do?     We went to Chapman University where Professor

      23   Eastman did much of his work was our understanding.

      24               And Mr. Burnham

      25   reli
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1

       2   that is Professor Sisk (phonetic), who just is a person on the

       3   side who used to work for me at the Justice Department,

       4   Professor Sisk describe                  t there in the way of law

       5   schools and he indicated that the system that Chapman

       6   University has is a small minority of the schools.

       7                With Your Honor                              st like to

       8   describe to you briefly -- and this is at page 18 and 19 of our

       9   brief, just describe briefly to you what Professor Chapman knew

      10   about his work at Chapman --                  -- Professor Eastman

      11   knew about his work at Chapman University.

      12                So one, Chapman has a policy that is publicly

      13   available.    It says, (quote):

      14                          ht to retrieve the contents of

      15                university-owned computers and email messages for

      16                (audio glitch) reasons is reserved to the

      17

      18                                      .

      19

      20                contents of university-owned computers or email

      21                messages,    (end/quote).

      22                Next, w       very pleased that Chapman University

      23   recognizes its public duties and it says that it may disclose

      24   information accounts, (quote),         if required to do so to comply

      25   with law or legal process,       (unquote), including in response to
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   subpoenas.

       2                Then it said, (quote):

       3                              -owned resource and business tool to be

       4                used only by authorized persons for educational

       5                purposes or to carry out the legitimate business of

       6                the university,     (end/quote).

       7                And then when Professor Eastman signed on, he was

       8   told, (quote):

       9

      10                that your activities on or information you store in

      11                any part of the system is subject to monitoring and

      12                recording by Chapman University or its agents,

      13                consistent with the Computer and Acceptable Use

      14                P

      15                And that use policy -- by the -- (end/quote).

      16

      17   that users should not expect privacy.

      18                And then last, the President of Chapman University

      19   was clearly quite disturbed when he found out what was

      20   happening with Professor Eastman                 Chapman facility --

      21   computer facilities and he said that the university, (quote):

      22                    Has clear policies in place regarding outside

      23                activity.    In fact, when acting privately, Chapman

      24                faculty and staff are not free to use Chapman

      25                U                                                , or
                              EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    24


       1               telephone number, in connection with the support of a

       2               political candidate.

       3               I don't need to quote anymore.      Professor Eastman

       4   obviously either knew --

       5   I think he was a dean of the law school.        I think we can all

       6   assume that he knew very well all of this.

       7               So no, this is not going to bring down university law

       8   school clinics.     Again, I rely on my friend, Professor Sisk,

       9

      10   that my friend, Mr. Burnham, heavily relies on.

      11

      12               Excuse me, Your Honor, while I just get a sip of

      13   water.

      14         (Pause)

      15               Chapman University -- which this is their computer

      16   system, these are their computer records -- they want to comply

      17   with the subpoena.     They were attempting to comply with the

      18   subpoena.    Professor Eastman then rushed to court to stop it

      19   because remember, Professor Eastman refused to do what so many

      20   other witnesses have patriotically done.        Those people have

      21   cooperated with the Committee because of the astonishing

      22   importance of what the Committee is doing.

      23               I don't think anybody can reasonably dispute that it

      24   is not absolutely essential to find out why there was an

      25   attempt to coup against the United States Government and our
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   democratic foundations, how it happened, what happened with the

       2   attack on the Capitol, what brought it about?         What statements

       3   were out there?     What was getting Americans so worked up about

       4   all of these patently false claims about the election being

       5   stolen?    What was behind all that?      Where did that come from?

       6   And then, how did the attack happen, how can it all be

       7   prevented in the future?      This is absolutely essential that the

       8   Committee be able to get to the bottom of this.          And the way it

       9   can do that is primarily by people cooperating with the

      10   Committee as so many other officials are doing, former

      11   officials.

      12                And we need this material in part, for example, not

      13   just for what is in the documents, the materials, but also so

      14

      15

      16   and we need it now.

      17                                  the other side?     The other side is

      18   that Professor Eastman can claim executive privilege but

      19

      20   to show --

      21   attorney-client privilege.                 osed to show that

      22   attorney-client privilege will be violated here.           And again,

      23   we gave him ample opportunity to do that and we met with a

      24   stone wall.

      25
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   privilege log.     Mr. Trump, his client, what -- what materials,

       2   what conversations, et cetera, are privileged?         Why?

       3                Was --

       4   we were being told that Vice President Pence was Professor

       5

       6   since then on mass media I believe Professor Eastman called the

       7   vice president spineless because he refused to overturn the

       8   2020 presidential election.

       9

      10

      11   reme                                                riod when

      12   Professor Eastman was at Chapman

      13   stop myself and say actually, he was on leave of absence during

      14   that period from Chapman.      So what clinic clients      materials,

      15   private, confidential attorney client materials are we talking

      16   about?   W

      17   President Trump, (audio glitch)

      18   all over mass media saying that President Trump wants him to

      19   talk.

      20                So under these circumstances, all put together, we

      21   think that this is actually a very narrow case with very

      22   special circumstances, very special facts.

      23   have many situations like this with attorneys claiming

      24   attorney-client privilege but not identifying -- not doing a

      25   privilege log, not cooperating with the Committee at all to try
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   to figure this out, stonewalling us; and instead, we then go to

       2   Chapman University that has been totally willing to comply with

       3   the subpoena.

       4                                                         questions that

       5   Your Honor has.     Let me just emphasize again, the Committee is

       6   working at great X speed. I suspect that you are well aware of

       7   that from the courts in the media.        We tried to get stuff done

       8                                                               alk to as

       9   many witnesses as we can to get to the bottom of this in order

      10   to protect our democracy.

      11               Thank you, Your Honor.

      12               THE COURT:    Thank you.   And let me turn to --

      13   sorry.   Thank you, Mr. Letter.

      14               Let me turn to Mr. Plevin representing Chapman.

      15               MR. PLEVIN:    Thank you, Your Honor.

      16               As I have noted in our brief we filed, this dispute

      17

      18   congressional defendants and Dr.

      19   is in complying with its legal obligations as defined by this

      20   Court to provide information in response to the subpoena.

      21   However, I think there are a few factual issues that Chapman

      22   can clarify which may be of assistance to the Court.

      23               First, as Mr. Letter noted, during the period of time

      24   covered by the subpoena, Professor Eastman was on a leave of

      25   absence from Chapman.      He was a visiting professor at the
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       1   University of Colorado.

       2                Second, the only client that has ever been identified

       3   that Professor Eastman was representing during this period of

       4   time in question was the former president.         The former

       5   president obviously was a candidate for elective office and any

       6   use of university resources to support a political campaign or

       7   a candidate for elective office is incompatible with Ch

       8   501(c)(3) status.

       9                So the next fact I would want to say is Mr.

      10   representation of the former president was not authorized by

      11   Chapman U

      12   represent former president and had he asked for such

      13   authorization, it would have been denied on the basis of the

      14   IRS rules.

      15                There has been some reference to other potential

      16   clients for whom there may be an attorney-client privilege in

      17   the subpoenaed materials.      No such clients have ever been

      18   identified.    Chap

      19   identify any such other clients but no such clients have been

      20   identified.

      21                The issue of the law school clinics is I think a bit

      22   of a red herring, Your Honor.       Sure, Chapman University has law

      23   school clinics and clients are represented through those

      24   clinics, and there are emails sent and received on the system

      25   for those legitimate clinic representations that are authorized
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       1   and permitted and encouraged at Chapman.          The former president

       2   was not a clinic client, nor would he have been eligible to be

       3   a clinic client of Chapman.       And so from C

       4   view, whatever Professor Eastman was doing in representing the

       5   former president was improper, unauthorized; and in a sense, I

       6   liken it to having contraband on our sys                        --

       7   information is not something that we have any interest.           The

       8   university has no interest in expending its resources to

       9   identify or protect.      It simply does not have an interest in

      10   doing anything other than complying with its subpoena as its

      11   obligations are defined by the Court.

      12               The last thing I just want to note is when Professor

      13   Eastman departed from Chapman University in January of 2021, he

      14   was given an opportunity to remove any alleged attorney-client

      15   privilege information from Chapman

      16   occur.   And so whatever is left on the system is still there.

      17

      18   convey, Your Honor

      19   have any.

      20               THE COURT:    All right.

      21               First of all, I want to thank all of the parties once

      22   again for their hard work over the weekend and the briefings

      23   submitted to the Court this weekend.

      24               I want to start with the negotiations so I have a

      25   clear record because the briefing caused some confusion, either
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       1   through information that was not initially conveyed or

       2   responsive briefing that leaves me with an unclear record.           So

       3   I have a few questions regarding the timeline details of these

       4   negotiations.

       5               So first, Mr.                                            g

       6   you four que

       7   minimally to Dr. Eastman and Counsel to respond to

       8   approximately four more questions.

       9               Let me propose those four questions to you first of

      10   all, Mr. Letter, to mull for just a moment before I ask them

      11   individually.

      12               The first is, is it true that the House Select

      13   Committee issued the subpoena last Tuesday, January 18th, with

      14   a deadline of Friday, January 21st at 7:00 a.m. Pacific Time.

      15   And d                                                    solute clarity

      16   concerning that.

      17               The second, is it true that Chapman University was to

      18   produce approximately 19,000 of Dr.

      19   three-day period?

      20               The third question goes to both you as the counsel

      21   for the Select Committee and to Mr. Plevin for Chapman and that

      22   is, at what point was Dr. Eastman made aware that there were

      23   approximately 19,000 documents to be disclosed?

      24               The fourth question, Mr. Letter, is it true that

      25   Dr. Eastman was not given the opportunity to look at those
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       1   emails over the course of those three days?           And I understand

       2   your present position and your response in your papers that he

       3   was given the opportunity at an earlier time and you can

       4   respond at your leisure.

       5               So let me start with the first very simple question.

       6               Was the subpoena issued in fact last Tuesday, January

       7   18th, with a deadline of Friday, January 21st at 7:00 a.m.

       8   Pacific Time?

       9               MR. LETTER:    Yes, Your Honor.

      10               THE COURT:    All right.   Thank you, sir.

      11               Was Chapman University asked or expected to produce

      12   the representation by all counsel of approximately 19,000 to

      13   20,000 of Dr.                                           -day period?

      14               Mr. Letter?

      15               MR. LETTER:    Your Honor, I believe you said

      16   represented by all counsel.       I -- we are relying entirely --

      17   Chapman is the one who came up with that figure.           To my

      18   knowledge, we have absolutely no idea whether that figure is --

      19               THE COURT:    All right.   Let me turn then to Mr. --

      20               MR. LETTER:    -- accurate or not.     We have no reason

      21   to think it isn't.

      22               THE COURT:    Okay, let me turn to Mr. Plevin.

      23               MR. LETTER:    But I just wanted     --

      24               THE COURT:    Mr. Plevin, just to make my record when I

      25   write the factual situation,                  -- the Court was not
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       1   aware of the volume of this material until the opposition by

       2   the Select Committee and by Chapman.

       3               Are there approximately 19,000 to 20,000 emails?

       4               MR. PLEVIN:

       5   Your Honor?

       6               THE COURT:    Yes.    Mr. Letter referred that over to

       7   you so let me ask you.

       8               MR. PLEVIN:    Okay.    So as Mr. Letter noted, at some

       9   point during the negotiations --

      10               THE COURT:                                       --

      11               MR. PLEVIN:    -- his office --

      12               THE COURT:                   -- my question is very

      13   simple.

      14               Are there approximately 19,000 to 20,000 pieces of

      15   email?

      16               MR. PLEVIN:    Yes --

      17               THE COURT:    Okay, thank you.

      18               MR. PLEVIN:    -- that is what is in the production

      19   (audio glitch)                                     Your Honor.

      20               THE COURT:    Okay.

      21               MR. LETTER:    And Your Honor --

      22               THE COURT:    Just a moment, Counsel.     My questions are

      23   very succinct.

      24   moment on this.

      25               But I want to be certain then -- and back to the
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   Select Committee -- whether you knew the volume or not?

       2   Nineteen thousand.     Or the emails.     Whatever that volume you

       3   were aware of, expected to be produced in these three days?

       4               Mr. Letter?

       5               MR. LETTER:    Your Honor, this is my understanding.

       6               I believe we did not know when the subpoena was

       7   issued how many documents.      I am asking my colleagues to inform

       8   me while this hearing is going on.

       9               The reason for the three days, Your Honor, was we had

      10   been in constant communication with Chapman and Chapman

      11   University told us that they needed three days to respond.

      12               THE COURT:    I see.

      13               MR. LETTER:    So it was -- three days was because

      14           what Chapman told us that it needed.

      15               THE COURT:

      16   information; and that is, in your discussion with Chapman, you

      17

      18   Chapman for this three days.       And from that I might assume that

      19   your time period might have been different depending upon

      20   whether it was a hundred emails or 19,000 emails.

      21               MR. LETTER:    Again, Your Honor, I am -- my colleagues

      22   are listening and I think I will very shortly have an answer.

      23   I believe we did not know the number.

      24               THE COURT:    All right.

      25               MR. LETTER:    I don't think Chapman had told us
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       1   until --

       2               THE COURT:                      eck before you make a

       3   statement just to be certain, okay, as a courtesy.

       4               MR. LETTER:    I am doing that, Your Honor.

       5               THE COURT:    Is it correct that Mr. Eastman was not

       6   given the opportunity to look at those emails over the course

       7   of those three days?      And so I can turn to Mr. Plevin or to

       8   Mr. Letter, either one.

       9               Mr. Plevin?

      10               MR. LETTER:    I think it would be useful for

      11   Mr. Plevin to start and then me after that, I believe.

      12               THE COURT:    Mr. Plevin?

      13               MR. PLEVIN:    I believe, Your Honor, that Chapman made

      14

      15   intended to comply.

      16               THE COURT:                             an to cut you off

      17   but my questions are very concise now.

      18               My question is, was Dr. Eastman given the opportunity

      19   to look at those emails over the course of those three days?

      20               MR. PLEVIN:    So over the course of those three days I

      21   believe the answer is no.

      22               THE COURT:    Okay.   And do you need to check with

      23

      24   I write an accurate factual situation for both parties.           And if

      25
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                                                                                    35


       1               MR. PLEVIN:     I am -- I am just checking with my

       2   client now to confirm that.

       3               THE COURT:     Okay.    All right.   And if you wish to

       4                                                        , just both of you

       5   be on the phone so I have accuracy in writing a fact situation.

       6               Then in the briefing, Mr. Letter, on your portion --

       7                                      -- Dr. Eastman learned -- when I

       8   received your briefing -- that the House Select Committee would

       9   be requesting Chapman University emails in early December 2021.

      10   And since then, it appears that there have been at least six

      11   weeks to voluntarily to disclose these Chapman emails.

      12               So counsel on behalf of Dr. Eastman, did you send a

      13   letter, as represented in the opposition briefing, to the

      14   Select Committee refusing to produce these Chapman University

      15   emails?

      16               MR. BURNHAM:     We sent a letter that did not

      17   specifically reference the Chapman University emails but it

      18   could be fairly read to cover those emails to the extent they

      19   were proven to exist.      We asserted an Act of Production Fifth

      20   Amendment privilege.

      21               THE COURT:     And where would I see that email because

      22   -- or that letter?     That was not attached to any briefing over

      23   the weekend.

      24               MR. BURNHAM:                                                 ,

      25                                                                    rnet.
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                      36


       1                THE COURT:     Thank you, Counsel.

       2                Mr. Letter, do you have any objection to the Court

       3   looking at the actual document?       Because when I write a factual

       4   history of this, I want to be absolutely accurate.           And

       5   apparently there is an email now, that the Cour                        ,

       6   that was sent and -- to the Select Committee with, allegedly,

       7   Mr. Eastman refusing to produce Chapman University emails.

       8                Do you have that letter?

       9                MR. LETTER:     Yes, Your Honor

      10   wait till Mr. Burnham is done because my --

      11                THE COURT:                    all of you consult

      12   because --

      13                MR. LETTER:     I believe Mr. Burnham --

      14                THE COURT:                Mr. Letter.

      15                MR. LETTER:                Your Honor.     I believe

      16   Mr. Burnham attached --                              This letter was

      17   printed                                                 --

      18                THE COURT:

      19   depending upon each of you for these answers now so --

      20                MR. BURNHAM:     Can I add something, Your Honor, to

      21   my --

      22                THE COURT:                                       very

      23   succinct question now.       Answer my question.

      24                Where can I see this letter?      Because I don't want

      25
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                                                                                    37


       1               MR. BURNHAM:

       2   the Court would just Google John Eastman Fifth Amendment

       3   Letter

       4   Internet.

       5               THE COURT:     Would that be acceptable, Mr. Letter, if

       6   I Googled that then?

       7               MR. LETTER:     Yes, Your Honor.     I believe we made it

       8                                           , if you look at page 5 --

       9               THE COURT:     Thank you.

      10               MR. LETTER:     -- of our brief.

      11               THE COURT:     Just a moment.

      12               So this would -- for all your edification, this would

      13   be Document 21, I believe, filed with the Court.          And on Page

      14   5?

      15               MR. LETTER:     I have 23-1, Your Honor.

      16               THE COURT:     At Page 5, what line please?

      17               MR. LETTER:     Page 5, Footnote 4.

      18               THE COURT:     Available at https?    Is that correct?

      19               MR. LETTER:     That is exactly right, Your Honor.

      20               THE COURT:     All right.   Counsel, could I have your

      21   stipulation then that I can pull that off the Internet without

      22   a formal submission to the Court?

      23               MR. BURNHAM:     Your Honor, I actually just tried it

      24   myself and I got a message saying we're sorry but that page

      25   cannot be found.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1         (Laughter)

       2                THE COURT:     Let me help both of you.    I'm ordering

       3   you to produce that letter.       Would that help each of you?

       4                MR. BURNHAM:     My pleasure, Your Honor.

       5                THE COURT:     All right, thank you very much.    And I

       6   want that, Counsel, within the hours now.         All right.

       7                MR. BURNHAM:     Certainly.

       8                THE COURT:     I want to ask Dr. Eastman and I'm asking

       9   you, Counsel, to respond, did your client assert, did

      10   Dr. Eastman assert the Fifth Amendment right against self-

      11   incrimination with respect to producing these documents?

      12                MR. BURNHAM:     Not by name, he didn't.    If I could

      13   elaborate.    Dr. Eastman received a subpoena himself before the

      14   Chapman subpoena to testify and produce documents.          It did not

      15   mention Chapman by name but perhaps some of the items in the

      16   subpoena, depending on who you talk to, could have been

      17   interpreted to apply to that.       And he asserted his Fifth

      18   Amendment right in response to that subpoena by the letter

      19   we've recently been discussing.

      20                THE COURT:     Typically the party whose communications

      21   are being sought has an opportunity to specify which

      22   communications are privileged and therefore protected from

      23   disclosure.    And that of course is subject to review.

      24                On behalf of Dr. Eastman, Counsel, did your client

      25   ever produce such a privilege log of his communications?
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       1               MR. BURNHAM:     We did     not.   We did not and the reason

       2   for that was there's case law with respect to the Fifth

       3   Amendment active production case privilege stating that

       4   producing a privilege log and acknowledging that certain

       5   documents exist can be a waiver of the Fifth Amendment active

       6   production privilege, and so for that reason we didn't.           We put

       7   that in our letter to the Government.          They knew that was our

       8   position.    We tried to make it very clear.

       9               THE COURT:     So therefore I think you've responded to

      10   my next question, and that is what efforts did you make to

      11   produce the privilege log in that time period, and that was

      12   none subject to your argument.

      13               MR. BURNHAM:     Correct.

      14               THE COURT:     Did your client, did Dr. Eastman assert

      15   the Fifth Amendment right against self-incrimination with

      16   respect to creating a privilege log for these documents?

      17               MR. BURNHAM:     Among others, yes, Your Honor.

      18               THE COURT:     Okay.

      19               MR. BURNHAM:     And not -- again not specifically

      20   naming these documents, but --

      21               THE COURT:     Counsel, you'll find that that question

      22   is based upon the Opposition, Mr. Letter, at Page 5 that you

      23   filed.

      24               The House Select Committee offered to apparently

      25   connect Dr. Eastman with Chapman's General Counsel,
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   Ms. DuMontelle, to review the documents and produce a privilege

       2   log.   And that's found at the Opposition submitted on behalf of

       3   the House Select Committee at Page 5.        And it states that

       4   Dr. Eastman did not respond to this offer.         I need a clear

       5   record of what occurred here.

       6               So first to Mr. Letter on behalf of the House Select

       7   Committee, when was that offer made?

       8               MR. LETTER:    Your Honor -- and by the way, Your

       9   Honor, I have an answer to your earlier question to me --

      10               THE COURT:    No, let's stay with this question --

      11               MR. LETTER:    -- whenever you want that.

      12               THE COURT:    -- and come back to it.     When was that

      13   offer made?

      14               MR. LETTER:    On this one I mentioned, Your Honor, I

      15   believe again that the folks with that exact information are on

      16   the line and I believe they will be emailing me shortly with

      17   the specific answer to your question.

      18               THE COURT:    Well I'll take a recess in just a moment,

      19   and I appreciate the answer.

      20               And if that occurred my next question is obvious, and

      21   that is why did you, on behalf of counsel representing

      22   Mr. Eastman, why did you not respond to that offer?

      23               Now that's assuming that the offer was made.         I don't

      24   have a clear record of that yet.       Somebody is on the phone

      25   gathering that information.       But assuming that that offer was
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   made, why didn't you respond?

       2                MR. BURNHAM:     I did respond.   I didn't accept the

       3   offer.   But there's an email chain I'm looking at now with one

       4   of the staff for the Committee where that subject was

       5   discussed, and I think it starts around, I'm looking at

       6   November 8th, and then maybe there's another email November the

       7   23rd, so it came up a couple times on email.         And the reason

       8   why we didn't accept that offer was because, just to be totally

       9   frank with the Court, we at that point intended and later did

      10   assert the Fifth Amendment active production privilege.           My

      11   research is that's a very fragile, very easily waivable

      12   privilege.     Both the Select Committee and Congress throughout

      13   history have been extraordinarily aggressive with waiver

      14   arguments --

      15                THE COURT:     All right, thank you.

      16                MR. BURNHAM:     -- and both parties, on both parties,

      17   and that was the reason.

      18                THE COURT:     Thank you.

      19                Mr. Letter, did the House Select Committee --

      20                MR. LETTER:     Well, Your Honor --

      21                THE COURT:     -- provide Dr. Eastman with any other

      22   opportunity to conduct a privilege review?

      23                MR. LETTER:     Your Honor, the information I've been

      24   given is by email on November 24th is when we raised this and

      25   offered it.    In addition, the staff attorney who did that
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   believes that it was offered earlier by telephone as well but

       2   at least there would be a written record in the email on

       3   November 24th.

       4                My understanding is that -- is that the offer was

       5   flatly rejected, along with --

       6                THE COURT:     All right.

       7                MR. LETTER:     -- anything else.

       8                THE COURT:     Do either counsel have any objection, so

       9   that I have an accurate record, of those emails being submitted

      10   to the Court?

      11                MR. BURNHAM:     Can I have a moment, Your Honor?

      12                THE COURT:     Certainly.

      13                In other words, when I'm writing the factual basis

      14   I'd like to be as accurate as possible, and a lot of things are

      15   now getting filled in from the briefing and I don't want a

      16   summation of what each counsel thinks that these emails are

      17   about, I'd like to see the actual emails.

      18                MR. BURNHAM:     Just to clarify, would these be --

      19                MR. LETTER:     Your Honor --

      20                MR. BURNHAM:     -- submitted in camera or shared

      21   with --

      22                THE COURT:     I want complete transparency.

      23                MR. BURNHAM:     There's a long chain of emails.     I'd

      24   have to sort of take out what's privileged, speaking of

      25   privilege.    I could try and take -- because I forward emails to
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   my client and so I would have to kind of clean it up, but I

       2   could certainly do that.

       3                Your Honor, I think can take out the relevant emails

       4   one by one and take out the parts of the chain that are

       5   privileged and put something together for the Court.

       6                And it actually may be easier for the Defendants to

       7   do it because they have the whole chain as well and they don't

       8   have -- I mean they may have forwarded it to other people as

       9   well, but they could produce it.

      10                MR. LETTER:    May I be heard, Your Honor, or should I

      11   wait?

      12                THE COURT:    Please, Mr. Letter.

      13                MR. LETTER:    Your Honor, let me first say that we

      14   deeply appreciate your willingness and desire to get to the

      15   bottom of this right away.      So when you were saying before you

      16   hoped it was okay, or whatever, it's more than okay from our

      17   perspective.    I will speak to the author of these emails, et

      18   cetera, I might hear from him by email shortly.          I believe that

      19   he will have absolutely no objection to sharing any of this

      20   with Your Honor.

      21                THE COURT:    All right.   Mr. Letter, was a taint team

      22   ever considered?     And I think we're all aware of what a taint

      23   team is.     Was a taint team ever considered by the House Select

      24   Committee?

      25                MR. LETTER:    Your Honor, I do not know if we raised
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   that possibility with Mr. Burnham.        As far as the things that

       2   we internally, various possibilities that we talked about and

       3   considered internally, Your Honor, that's not something that I

       4   can share publicly.      The internal operations of the House of

       5   Representatives are protected.

       6               THE COURT:     Last week Dr. Eastman asked the House

       7   Select Committee if he could conduct a privilege review of the

       8   Chapman documents and in the Reply at Page 4 the House Select

       9   Committee declined this request.        I'd like from counsel

      10   representing Dr. Eastman when this request was made.

      11               MR. BURNHAM:     I'm speaking from memory.     I'll verify

      12   it in a moment.

      13               THE COURT:     Well then take a moment and verify it

      14   now.

      15          (Pause)

      16               MR. BURNHAM:     Okay, Your Honor.     I'm looking here at

      17   an email with Ms. DuMontelle on Wednesday, January 19th, at

      18   7:00 o'clock Eastern time.

      19               THE COURT:     DC time or telephone?

      20               MR. BURNHAM:     That's DC time.

      21               THE COURT:     Thank you.

      22               MR. BURNHAM:     And if nobody objects to my simply

      23   quoting a sentence or two, she's responding to me and says,

      24               "I have checked with the lawyers who are coordinating

      25               the subpoena and asked about us giving the production
                            EXCEPTIONAL REPORTING SERVICES, INC
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       1                to you and relieving us of the subpoena.       They have

       2                responded that they wish to leave it as is with the

       3                existing deadline."

       4                End quote.

       5                THE COURT:    Mr. Letter, can you verify that that's

       6   correct or not?

       7                MR. LETTER:    I believe it is, Your Honor, and the

       8   reason was, quite simply, we had made this offer before and I

       9   think we now understood it was flatly rejected, at this point

      10   we were under the impression we're getting absolutely nothing

      11   from Professor Eastman and therefore we wanted to obtain the

      12   materials from Chapman University ASAP.

      13                Your Honor, I do want to say if this is considered

      14   something that is important to do now, we would certainly

      15   entertain it.     We would want -- we think it would be essential

      16   that if the material is provided to Professor Eastman now there

      17   be a very quick schedule on a rolling basis for him to produce

      18   a privilege log.     But I have to admit I don't -- I don't

      19   believe --

      20                THE COURT:    Let's stop at that point for a moment

      21   because I want to repeat back what I heard, and that is you

      22   would be willing at the present time to submit these materials

      23   to Dr. Eastman with the expectation that this would be a short

      24   turnaround time he could review these.        Is that correct?

      25                MR. LETTER:    Yes, Your Honor --
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    46


       1               THE COURT:     Okay.

       2               MR. LETTER:     -- on a rolling basis, so --

       3               THE COURT:     Just a moment.

       4               MR. LETTER:     -- we're talking about --

       5               THE COURT:     I'm sorry.    What does rolling basis mean?

       6   Because to my perception this would be a continuing basis,

       7   including weekends.

       8               MR. LETTER:     Yes, Your Honor, and maybe we're using

       9   the same term --

      10               THE COURT:     Okay.

      11               MR. LETTER:     -- meaning the same thing.

      12               THE COURT:     Twenty-four/seven, right?

      13               MR. LETTER:     That Professor Eastman --

      14               THE COURT:     Twenty-four/seven?

      15               MR. LETTER:     Yes.

      16               THE COURT:     Okay, good.

      17               MR. LETTER:     And that Professor Eastman would --

      18               THE COURT:     Now, Mr. Eastman and Counsel, are you

      19   accepting this offer from the Government?

      20               MR. BURNHAM:     I don't have authority to accept it as

      21   I'm sitting right --

      22               THE COURT:     Well talk to your client.     He's right

      23   next to you.

      24         (Counsel confers with Plaintiff)

      25               MR. BURNHAM:     We're not accepting it right now.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   There's issues I could go into --

       2               THE COURT:     No, just a moment.     When are you willing

       3   to accept the Government's offer?

       4               MR. BURNHAM:     I could talk to Dr. Eastman and --

       5               THE COURT:     Good, talk to your client.

       6         (Counsel confers with Plaintiff)

       7               MR. BURNHAM:     The most obvious is in our Complaint we

       8   raise claims beyond attorney-client privilege --

       9               THE COURT:     I'm sorry, I apologize.     When are you

      10   willing to accept this offer?

      11               MR. BURNHAM:     I don't have a specific time to --

      12               THE COURT:     Talk to your client.

      13         (Counsel confers with Plaintiff)

      14               MR. BURNHAM:     So we're not willing to accept it then

      15   is the answer.

      16               THE COURT:     All right, thank you.

      17               MR. LETTER:     Your Honor, may I be heard very quickly?

      18               THE COURT:     Please.

      19               MR. LETTER:     On this -- I did want to end with this

      20   speedy review, but -- and      part of it would be if there aren't

      21   claims made as to certain material, that Chapman University

      22   would produce that material immediately.

      23               THE COURT:     Dr. Eastman and Counsel, you previously

      24   it appears declined to produce a privilege log because of your

      25   Fifth Amendment right, but at present you're currently
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   requesting the opportunity to do so.        I don't understand.

       2               MR. BURNHAM:     I just have to be open with.     If these

       3   documents --

       4               THE COURT:     I can't hear you.

       5               MR. BURNHAM:     If these documents are delivered to the

       6   Government there is a argument that I think has some force to

       7   it that the active production privilege is waived by that

       8   production.    So at that point once they're subject to a

       9   subpoena then that defeats the -- arguably could defeat the

      10   previous assertion of privilege and for reasons I could get

      11   into I think we were totally within our rights to wait till we

      12   were obliged by subpoena to --

      13               THE COURT:     I'll let you conclude your argument in

      14   just a moment.     I have some specific questions for both of

      15   you --

      16               MR. BURNHAM:     Okay.

      17               THE COURT:     -- so I appreciate brevity.

      18               I'm going to take a 10-minute recess, so all of you

      19   can take a 10-minute recess for a moment.         And the next brief

      20   category is going to concern Dr. Eastman's work at Chapman.

      21   And to preview that, Dr. Eastman, as I understand, was a

      22   professor at Chapman University during the time of the

      23   subpoena, but today for the first time I've heard that he was

      24   on leave and I'd like to make certain that I have a clear

      25   record concerning his status when we come back, from both of
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   you, and you have a comfort level in your statement to the

       2   Court.

       3               And in addition to his academic work at Chapman,

       4   Dr. Eastman represented several clients.        So to prepare you so

       5   you can discuss this during the recess, the House Select

       6   Committee has argued that Dr. Eastman's representation of

       7   clients was unauthorized because it supported a political

       8   activity which was barred by IRS rules for nonprofit

       9   universities.    And according to Dr. Eastman's contract with

      10   Chapman University, Dr. Eastman was authorized to direct the

      11   Center for Constitutional Litigation, a program jointly

      12   sponsored by Chapman University and the Claremont Institute,

      13   and you'll find that at the Reply, Exhibit 1, Docket 31-1, and

      14   through the Center Dr. Eastman and the students represented a

      15   number of different clients.

      16               So Counsel, so you can discuss with your client, two

      17   questions I will initially have to Dr. Eastman is did you

      18   conduct all your work for the Center for Constitutional

      19   Litigation using your Chapman University email account and

      20   which clients did you represent through the Center between

      21   November of 2020 and January of 2021, which I assume would be

      22   the date of the election through the date of the inauguration.

      23               And from the briefing Dr. Eastman also potentially

      24   represented clients outside the Center for Constitutional

      25   Litigation, so another question is did you retain pro bono
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   clients outside of the Center between November of 2020 and

       2   January of 2021, or the subpoena dates, and who were they.

       3               And the next questions would be did you retain

       4   private clients outside of the Center between November of 2020

       5   and January of 2021 and approximately how many clients did

       6   Dr. Eastman represent between November of 2020 and January of

       7   2021.   And for any clients represented outside the Center for

       8   Constitutional Litigation, did you receive explicit

       9   authorization for that work from Chapman University.

      10               Once again I'm going to ask was Dr. Eastman's

      11   representation to President Trump through the Center for

      12   Constitutional Litigation, through a private retainer

      13   agreement, or through another arrangement.

      14               And then Mr. Plevin, I'm going to turn back to you

      15   with a question so you can be prepared as you ably are, and

      16   that is did you, meaning Chapman University, authorize

      17   Dr. Eastman's representation of President Trump between

      18   November of 2020 and January of 2021.        Because the briefing is

      19   a little bit hazy and Dr. Eastman's come back and made the

      20   argument that Chapman not only well knew about this but was a

      21   champion and therefore impliedly approved of this.

      22               Dr. Eastman worked as an expert witness for the

      23   Florida Legislature's Select Joint Committee on the election

      24   involving President Bush and Candidate Al Gore and was retained

      25   by the Florida Legislature to advise it on a resolution on
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   electoral votes.     You'll find that at Exhibit 2, Docket 31-2.

       2   So you can prepare, to Chapman University, did Chapman

       3   authorize this work and was this work in violation of the IRS

       4   policies for nonprofit universities, and I think you've

       5   previously answered that but I'd like to hear that one more

       6   time, and was that work completed using the Chapman University

       7   email.

       8                I'm going to stop there for a moment.       Counsel, why

       9   don't we take a 10-minute recess so you're comfortable.           In

      10   fact, let's say 15 just to be sure.

      11                Thank you very much.

      12         (Court in recess from 3:35 p.m. to 4:00 p.m.)

      13                THE COURT:         back on the record then.      Deb, are

      14   we on the record?

      15                THE CLERK:   Yes, we are.

      16                THE COURT:   All right.     And I see -- Mr. Letter,

      17   thank you.    And, Mr. Plevin, thank you.      And w

      18   record with Mr. Eastman and Counsel and Court.

      19                             follow up on the earlier discussion

      20   concerning these privilege logs to make certain I understand

      21   your respective positions about Dr. Eastman producing a

      22   privilege log.

      23                Mr. Lett

      24   Committee is amenable to Dr. Eastman being given the documents,

      25   producing a privilege log and then Chapman producing
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   unprivileged documents on a rolling basis which to me means a

       2   continuing basis.     And I take that to mean almost immediately.

       3               So, Dr. Eastman or Counsel, earlier it sounded like

       4   you were saying that you could not agree to make a privilege

       5   log at this point given your other legal arguments against the

       6                                                                  n your

       7

       8   second, Dr.                                              Dr.

       9   Fourth Amendment rights; is that correct?

      10               MR. BURNHAM:

      11               THE COURT:     All right.   If the Court were to

      12   tentatively rule against you with respect to those three

      13   arguments leaving only the privilege argument, would

      14   Dr. Eastman accept the offer of making a privilege log?

      15               MR. BURNHAM:     And whose --

      16   rule against us?

      17               THE COURT:     Yes.

      18               MR. BURNHAM:

      19         (Counsel confer)

      20               In the terms Your Honor put it, yes, we would accept

      21   that with the small proviso that there might be issues we would

      22   have to work out about the particulars of the privilege log but

      23   in theory, yes, that would be the next best resolution to

      24   prevailing on all of our claims.

      25               THE COURT:     Okay.   These will be quick questions,
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    53


       1

       2   remind all of us that during the time of the subpoena when

       3   Dr. Eastman was a professor at the university, this is the

       4                                       as on a leave of absence.

       5               Mr. Plevin, on behalf of the university, was

       6   Dr. Eastman on leave of absence from Chapman University from

       7   the time of the election to the time of the inauguration?

       8               MR. PLEVIN:     Yes, he was.

       9               THE COURT:     All right, thank you.

      10               Counsel, do you agree or disagree with the statement

      11   by counsel for Chapman?

      12               MR. BURNHAM:     I disagree that it was a complete leave

      13   of absence and what I mean by that is Dr. Eastman was teaching

      14   at Colorado but he remained -- he was still paid a stipend to

      15

      16   was on a leave of absence but he was still getting paid to work

      17

      18               THE COURT:     Then

      19   Dr. Eastman represented between --

      20   2020 which constantly repeating the date of the election and

      21   the date of the inauguration in January 2021 and if those

      22   clients were authorized by Chapman University and whether

      23   Dr. Eastman used Chapman email for work.

      24               So can you confirm, Dr. Eastman, through your counsel

      25   that you were not working as a Chapman professor in that time
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    54


       1   period or is your statement, Counsel, that he was on stipend of

       2   some kind?

       3                MR. BURNHAM:     He was on a stipend to continue to run

       4   the clinic.

       5                THE COURT:     Okay.

       6                MR. BURNHAM:     He was not teaching classes at that

       7   time.

       8                THE COURT:     Mr. Plevin, on behalf of Chapman, what

       9   are the policies for professors on leaves of absence?          Are they

      10   still able to use the Chapman emails?        Is their work authorized

      11

      12                MR. PLEVIN:     Yes, I believe they -- I believe that to

      13   be true as stated, Your Honor.

      14                THE COURT:                                   certain for

      15   my record?

      16                MR. PLEVIN:     I believe that a Chapman professor on a

      17   leave of absence still has access to --

      18                THE COURT:     Okay.

      19                MR. PLEVIN:     -- the Chapman email network and is

      20   authorized to use that email network for legitimate authorized

      21   purposes --

      22                THE COURT:     Okay.

      23                MR. PLEVIN:     -- consistent with the university rules.

      24                THE COURT:     So to either, you, Dr. Eastman, or to

      25   you, Mr. Plevin, on behalf of Chapman, how many clients did
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    55


       1   Dr. Eastman represent between November 2020 and January 2021?

       2                MR. PLEVIN:    Chapman does not know the answer to that

       3   question.    We actually asked for that information from

       4

       5   discussions about a potential privilege issue and no client

       6   names were ever provided.

       7                THE COURT:

       8   Do you know which were authorized by Chapman University, if

       9   any?

      10                MR. PLEVIN:    No.    The records were --

      11   explain if

      12                THE COURT:    Okay.   On November 8th, 2021, the Select

      13   Committee, Mr. Letter, issued a subpoena to Dr. Eastman with an

      14   accompanying letter from Chairman Thompson dated November 8th,

      15

      16

      17   a publicly available Government document which was cited in the

      18   Ho

      19

      20   letter and ask the following questions.        Dr. Eastman reportedly

      21           two memorandum offering several scenarios for the Vice

      22   President to potentially change the outcome of the 2020

      23

      24   letter at 1 citing a CNN article.        Mr. Plevin, on behalf of

      25   Chapman, did Chapman University authorize this work?
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1                MR. PLEVIN:     No, Your Honor.

       2                THE COURT:     Did Dr. Eastman or through his counsel,

       3   was that work conducted through an attorney-client relationship

       4   and if so, which clients?       And was any aspect of that work

       5   conducted using Chapman University email?

       6                MR. BURNHAM:     The representation of President Trump

       7   was not conducted using Chapman University email.          Was there

       8   another part to the question?

       9                THE COURT:     Well, was any aspect of that work

      10   conducted using Chapman University email?

      11                MR. BURNHAM:

      12         (Counsel confer)

      13                Substantially, no.     We

      14   inadvertent use of Chapman email with respect to the former

      15   President.

      16                THE COURT:     Okay.   And was that work conducted

      17   through an attorney-client relationship?        And if so, which

      18   clients?

      19                MR. BURNHAM:     An attorney-client relationship existed

      20   with the President.

      21                THE COURT:     Okay.   On December 3rd of 2021,

      22   Dr. Eastman reportedly testified to the Georgia State Senators

      23   on alleged voter fraud and shared a paper arguing that the

      24   State Legislature could reject the results and directly appoint

      25   electors themselves.       Once again, it came to the Court through
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   the Select Committee cover letter at 2 citing a Washington Post

       2   article.

       3               The same question.     Mr. Plevin, did Chapman

       4   University authorize this work?

       5               MR. PLEVIN:                           explicitly.    I

       6   believe the answer to

       7   same accuracy.

       8               THE COURT:

       9               MR. PLEVIN:

      10               THE COURT:

      11               MR. PLEVIN:                            rmation to say -- I

      12

      13   to make that representation to the Court.

      14               THE COURT:                                                 I

      15

      16   to make a concise answer to the Court?

      17               MR. PLEVIN:                                   -- through

      18   the p                                        law school dean at the

      19   time that Dr. Eastman was not authorized to engage in any

      20   activity on behalf of the political campaign or in support of a

      21   candidate for elective office.       And if he had asked to be

      22

      23               THE COURT:    Okay, thank you.

      24               Dr. Eastman or Counsel, was that work conducted

      25   through an attorney-client relationship and if so, once again,
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   which clients?

       2                MR. BURNHAM:

       3           (Counsel confer)

       4                The answer to Your Honor

       5   proviso that dealings with perspective clients, privilege can

       6   attach to those as well.       So I would make that clarification.

       7                THE COURT:     On January 2nd, 2021, Dr. Eastman

       8   reportedly participated in briefing for nearly 300 State

       9   Legislatures from several states regarding purported election

      10   fraud during which Dr. Eastman told the group that it was the

      11   duty of the Legislatures to fix this -- this egregious conduct

      12

      13                                       from the Select Committee cover

      14   letter submitted to the Court at 2 citing a PR Newswire

      15   article.

      16                Once again, Mr. Plevin, on behalf of Chapman

      17   University, did the university authorize this work?

      18                MR. PLEVIN:                                           Your

      19   Honor                                              hat specific

      20   activity but he was not authorized to engage in any activity on

      21   behalf of a political campaign or elective office nor would he

      22   have been authorized if he had asked.

      23                THE COURT:     And, Dr. Eastman, through your counsel,

      24   was that work conducted, once again, through an attorney-client

      25   relationship?    If so, which clients?      And was any aspect of
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    59


       1   that work conducted using your Chapman University email?

       2               MR. BURNHAM:

       3   two folks at once.

       4               THE COURT:     Oh.

       5               MR. BURNHAM:     Can you repeat the question?

       6               THE COURT:     Was the work conducted through an

       7   attorney-

       8   take that question first.

       9          (Counsel confer)

      10               MR. BURNHAM:     That work was done pursuant to

      11   representation of the President and if --

      12   indulgence for ten seconds, I want to make clear on the record

      13                                                                     Your

      14   Honor making this narrow decision on the temporary restraining

      15   order.   This should not be taken as any intent to waive the

      16   previously asserted Fifth Amendment privilege which we

      17   absolutely maintain.      I have to have that on the record.       Thank

      18   you.

      19               THE COURT:     Was any aspect of the work conducted

      20   using Chapman University email?

      21          (Counsel confer)

      22               MR. BURNHAM:

      23                     ossible that some of it could have been.

      24               THE COURT:     Okay.   On January 3rd, Dr. Eastman

      25   allegedly met with President Trump and Vice President Pence to
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   explain his theory that the Vice President had authority to

       2   decide the results of the election.         That came to the Court in

       3   Select Committee cover letter at 2, I believe, on Saturday

       4   citing New York Times article.         So once again, Mr. Plevin, did

       5   Chapman University authorize this work?

       6               MR. PLEVIN:     No, it did not.

       7               THE COURT:     To Dr. Eastman through his counsel, was

       8   that work conducted through an attorney-client relationship and

       9   if so, which client or clients?

      10               MR. BURNHAM:        President Trump.

      11               THE COURT:     All right.    Was any aspect of that work

      12   conducted using Chapman University email?

      13          (Counsel confer)

      14               MR. BURNHAM:

      15               THE COURT:     On the days leading up to January 6th,

      16    Dr.

      17   Bannon and others where the focus was on delaying or blocking

      18                                              that came to the Court on

      19   Saturday and the briefing on Select Committee cover letter at 2

      20   citing The Washington Post article.

      21               Once again, Mr. Plevin, on behalf of Chapman

      22   University, did Chapman University authorize this work?

      23               Mr. Plevin?

      24               MR. PLEVIN:     I

      25   Maybe I was muted.     I apologize.
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    61


       1               THE COURT:

       2               MR. PLEVIN:

       3               THE COURT:     All right.   Thank you.

       4               To Dr. Eastman through his counsel, was that work

       5   conducted through an attorney-client relationship and if so,

       6   for which client or clients?

       7               MR. BURNHAM:     President Trump.

       8               THE COURT:     And was any aspect of that work conducted

       9   using Chapman University email?

      10               MR. BURNHAM:

      11               THE COURT:     On January 6, 2000 -- or January 6th,

      12   2000 --               Dr. Eastman spoke at a rally at the White

      13   House Ellipse that led to the attack on the Capitol and

      14   Dr. Eastman reportedly

      15   saying that the --                          se Vice President and his

      16

      17   Dr.

      18

      19               So once again to Chapman University, Mr. Plevin, did

      20   Chapman University authorize this work?

      21               MR. PLEVIN:                             Your Honor.

      22               THE COURT:     And to Dr. Eastman through his counsel,

      23   was that work conducted through an attorney-client relationship

      24   and if so, which clients?

      25               MR. BURNHAM:                dulgence.
                           EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    62


       1         (Counsel confer)

       2

       3   factual description in the letter but Dr. Eastman was at that

       4   time period representing President Trump.

       5               THE COURT:     All right.   Can you help me with a

       6   general question?     How many clients did Mr. Eastman -- or Dr.

       7   --             -- Dr. Eastman have between November 2020 and

       8   January 2021 and who were those clients?

       9               MR. BURNHAM:     Putting aside potential clients who I

      10                                              Your Honor

      11   to whom privilege would apply, I believe what I --                  --

      12

      13   certain category of clients for whom the identity of the client

      14   can be privileged and so I have to operate within that

      15   constraint but

      16   about.

      17               THE COURT:     To Chapman University --

      18   like to take another brief recess -- are clinical professors,

      19   Mr. Plevin, at Chapman University given an alternative email

      20   account to use for their clien

      21               MR. PLEVIN:

      22                                                  --

      23   on that, Your Honor.

      24               THE COURT:     And do you --

      25   Chapman University, of course -- educate clinical professors on
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   any confidentiality concerns regarding using their Chapman

       2   email for client work?

       3               MR. PLEVIN:    Once again, Your Honor

       4   would need to check with the right folks on and get back to

       5   you.

       6               THE COURT:    Do any trainings or warnings they receive

       7   include a discussion of the attorney -- or waiving the

       8   attorney-client privilege by using Chapman email accounts?

       9               MR. PLEVIN:

      10   Your Honor.

      11               THE COURT:

      12   all attorney-client privilege when they use their Chapman email

      13   accounts to provide legal advice to clinic clients?

      14               MR. PLEVIN:

      15   that position, Your Honor.

      16               THE COURT:

      17   like about ten

      18   getting some of the letters that you submitted to the Court.

      19

      20   you.

      21                              a chance to summarize in whatever area

      22   you choose to.     Thank you for your courtesy.

      23          (A recess is taken from 4:18 p.m. to 4:32 p.m.)

      24               THE COURT:                                        so kind,

      25   at your convenience, would you plug everybody in?
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1               THE CLERK:     Okay.

       2               THE COURT:

       3   I can -- Mr. Letter, I can see you.        Mr. Plevin, thank you.

       4   And Mr. Eastman and counsel are in court.

       5               Dr. Eastman, through counsel, you stated that

       6   Dr. Eastman had four clients whose communications would be

       7   responsive to the subpoena.        Who were those clients?

       8               MR. BURNHAM:     Donald Trump is one.

       9               THE CLERK:     Your microphone is off.

      10               MR. BURNHAM:                          icrophone --

      11               THE COURT:     Thank you.

      12               MR. BURNHAM:     Donald Trump is one.      The Pasadena

      13   Republican Club is another.

      14               THE COURT:     Okay, thank you.

      15               MR. BURNHAM:     The Claremont Center for Jurisprudence

      16   --             -- Center for Constitutional Jurisprudence --

      17               THE COURT:     Thank you.

      18               MR. BURNHAM:     -- is another and then the final one

      19   was a case involving the emoluments clause whose -- the name of

      20

      21               THE COURT:     Thank you.

      22               MR. BURNHAM:                      sorry.    Professor

      23   Hamermesh and I have the name here in my notes.          Lawrence

      24   Hamermesh, Trump versus Citizens for Responsive Government.

      25   Trump was a named party.      Dr. Eastman was not representing
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   President Trump in that but that was a case involving the

       2   emoluments clause.

       3               THE COURT:     Why would some of -- why would some

       4               dentities be privileged?

       5               MR. BURNHAM:     The law is clear, Your Honor, that in

       6   general the identity of a client is not privilege but if there

       7   are specific circumstances that would make it prejudicial to

       8   the clients or reveal it such as in a highly charged political

       9   atmosphere with multiple investigations hovering around, we

      10   would contend, would be the type of circumstances where that

      11   exception to the normal rule would very much apply.

      12               THE COURT:     Which of those clients were through the

      13   Chapman clinic?

      14               MR. BURNHAM:     All except for the President.

      15               THE COURT:     Okay, just a moment.

      16               MR. BURNHAM:

      17         (Counsel confer)

      18               Mr.                                               purpose

      19   involves investigating sedition, which is a Federal crime, why

      20   is the Committee not raising the crime-fraud exception which

      21   would independently destroy the attorney-client privilege?

      22               MR. LETTER:     Your Honor, one of the points that I was

      23   possibly going to raise with you today was that it might very

      24   well be that we would at some point raise that -- the crime-

      25   fraud exception.
                             EXCEPTIONAL REPORTING SERVICES, INC
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                                                                                    66


       1

       2   that --

       3               THE COURT:    All right.

       4               MR. LETTER:    -- was something that would reasonably

       5   be applied to Professor Eastman.       In a rush to get everything

       6   done, we, therefore, did not include that but, yes, Your Honor,

       7   that is something that if there were further proceedings in

       8   this case, we would certainly look very closely at.

       9               THE COURT:    I anticipate handing down a ruling for

      10   the edification of both counsel -- or all counsel sometime

      11   tomorrow ruling against Dr.

      12   authority, the First and the Fourth Amendment.         And I choose to

      13   write on that so

      14   purposes.

      15               And given the parti

      16   willingness to work on a privilege log, if the Court rules

      17   against Dr. Eastman on the other three claims, I would prepare

      18   to order that the parties begin work on the production and

      19   creating a privilege log immediately.        And this Court would

      20   expect that the parties will work together with the urgency

      21   that this case requires.

      22               A

      23   status report be to this Court on Wednesday, January 26th and

      24   Friday, January 28th at 2:00 p.m. Pacific Time.          And that

      25   report should summarize the progress made in any disputes that
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1

       2   next Monday, January 31st at 2:00 p.m.

       3

       4   want to decide any contested assertions of privilege.          Will it

       5   be this Court or do you want a taint team established and what

       6   is a reasonable time for getting through all of those

       7   documents?    And

       8   on Saturday and so for church purposes, et cetera, half a day

       9   Sunday.

      10                Now, if you want to have a private discussion

      11   concerning that by phone with one another as a courtesy -- but

      12                                     se orders in just a moment.

      13                Do you want to have a private conversation,

      14   Mr. Letter, with Dr. Eastman and his counsel in that regard?

      15

      16   in that location which seemed to be most appropriate at Chapman

      17

      18                MR. LETTER:   Your Honor --

      19                THE COURT:

      20   discussion about this.      I think the two of you can communicate

      21

      22   thoughts.

      23                So let me begin with Mr. Plevin.

      24                MR. PLEVIN:   Yes, this is on behalf of Chapman.       So

      25   what we have right now is --                          PST
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   an email file.     That is a digital file that can be transferred

       2                                                any need for Dr. Eastman

       3   or anyone else to come to Chapman to review it.

       4               THE COURT:

       5                                                                      aint

       6   team of this court.      I want to resolve or have those disputes

       7   resolved forthwith.      And so, therefore, it would seem to me

       8   that you have these files.      Dr. Eastman is here.      And it would

       9   seem to me it would be much more efficient and much quicker if

      10                        Mr. Letter, that a designee travel forthwith

      11   and that we get started on this.

      12

      13   bench.   Place some calls to each other privately outside my

      14

      15   hand down my solution.      So I want courtesy between all of you

      16

      17                               ck in about ten minutes or when you tell

      18   Karlen that                           Mr. Letter, to talk to

      19   Mr.                                   Mr. Plevin.    If you can work

      20   out a better metho

      21   you.

      22               MR. SPEAKER:     Can I get a phone number for --

      23               THE COURT:     Will you give him your phone number?

      24               MR. BURNHAM:     I have Mr.

      25   can call him now.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1                THE COURT:                                  hat public.

       2                MR. BURNHAM:     I can text Mr. Letter and email

       3   Mr. Plevin my phone number.

       4                THE COURT:     Call me as soon as you have the courtesy

       5   of a time.

       6         (A recess is taken from 4:40 p.m. to 4:56 p.m.))

       7                THE COURT:     Well, then are we unmuted, Karlen?     Thank

       8   you so much.

       9

      10   reflect all counsel are present or by Zoom.

      11                So, Counsel, your thoughts?

      12                MR. BURNHAM:     I can start.     We had a --

      13   which counsel Your Honor was addressing.

      14                THE COURT:

      15   court counsel, so whoever would like to start.           Mr. Letter,

      16   Mr. Plevin or counsel Mr. Burnham.

      17                MR. BURNHAM:     We agreed -- I think all parties agreed

      18   based on the discussion just now on the phone that Chapman

      19   would produce in the very, very near future the documents to

      20   our side to begin a privilege log.

      21                THE COURT:     Let me stop.     The near future -- when?

      22                MR. BURNHAM:     Well, it sounded like it was -- we

      23

      24   happen today.

      25                THE COURT:     Just a moment.    We will.   When?
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1                 MR. PLEVIN:     Your Honor, I think --

       2                                              -- with good certainty, I can

       3   say it will be done by noon Pacific tomorrow.

       4                 THE COURT:     All right, just a moment.   By noon

       5   tomorrow.     Thank you, Mr. Plevin.

       6                 All right.     Please continue, Counsel.

       7                 MR. BURNHAM:     And then Mr. Letter can speak for

       8   himself but my understanding is he has to consult with the

       9   Committee members about what their position would be on the

      10

      11                    l have further discussions before providing a

      12   concrete proposal.

      13                 THE COURT:     No, no.   Just a moment.

      14                 I respect the fact, Mr.

      15   with the Committee.        Please do so.    But I expect an immediate

      16   answer concerning that.        I expect us to start tomorrow at noon.

      17   Is that understood?

      18                 MR. LETTER:     Yes, Your Honor.   I need to make sure

      19            --

      20                 THE COURT:     Now, the question will simply be then,

      21   who would be

      22   take on these contested assertions of privilege or you can form

      23   a taint committee but I do not want further delay or bickering

      24

      25                               concerned about that.
                            EXCEPTIONAL REPORTING SERVICES, INC
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       1               And, Mr. Letter, you want speed?       Then move.

       2   Understood?

       3               MR. LETTER:    Yes, Your Honor.      The only delay on my

       4   part --

       5               THE COURT:    Thank you very much.

       6               Now, how will we resolve that?       Because I want an

       7   answer to that and I assume that the Committee is not in

       8                                                      the ability to reach

       9   out to the chairman; is that correct?

      10               MR. LETTER:    That is correct, Your Honor.

      11               THE COURT:    Okay.

      12               MR. LETTER:    As soon as the call is over, I will

      13   initiate this.     The -- only the chairman in consultation with

      14   the vice-chairman can make this decision.

      15               THE COURT:    Okay.

      16               MR. LETTER:    But they will --

      17

      18   as I say --

      19               THE COURT:    All right.   And you both understand that

      20   my concern is that -- and I would welcome a taint committee.

      21

      22   committee which then, Mr. Letter, works against your request

      23   for a speedy resolution.      And I represent to both of you that

      24

      25                                               --
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1

       2   by all parties?

       3               Now, how do we resolve this, Mr. Letter, so that you

       4   have time to consult the chairperson out of courtesy?

       5               MR. LETTER:

       6

       7                                        -- he may be traveling, et

       8                                            --

       9               THE COURT:     Could we take a moment and find out

      10   through his offices?

      11               MR. LETTER:

      12                                --

      13               THE COURT:     All right.   So perhaps this is the answer

      14   for all of this and that is, we can certainly start the process

      15   as of 12:00 noon tomorrow.        How those disputes are resolved,

      16

      17   delayed out of courtesy to all the parties certainly until

      18   Thursday because those assertions will start coming up, if they

      19   do, and I can start as early as Thursday giving you 24 to 48

      20   hours to start the process.        Would that be fair to both

      21   parties?

      22               MR. BURNHAM:                                  Your Honor.

      23               THE COURT:     All right.

      24               MR. SPEAKER:     Yes, Your Honor.

      25               THE COURT:     Then is there anything further this
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   evening other than thanking all of you folks in Washington

       2

       3   for your presence here in court today.          Is there anything

       4   further?

       5               MR. BURNHAM:

       6   five minutes, Your Honor, to put some other things on the

       7   record?    The Court had mentioned a brief closing.

       8               THE COURT:     Please.

       9               MR. BURNHAM:

      10               THE COURT:     Please.      So you can make a record --

      11               MR. BURNHAM:        Okay.

      12               THE COURT:     --

      13   Mr. Letter, to you and Mr. Plevin.

      14               MR. BURNHAM:        Thank you, Your Honor

      15   to go through my list from the argument in, hopefully, some

      16   kind of a logical order but perhaps not.

      17               I think an important point is the Government

      18   represented this subpoena to be narrow and perhaps by its terms

      19   you could characterize it that way but I think the terms of the

      20   subpoena itself have to be considered in conjunction with the

      21   list of suggested search terms that were apparently

      22   communicated along with the subpoena and that neither Your

      23   Honor or us, the Plaintiffs, have seen.

      24                                                                    ,

      25   perhaps, depending on the exact terms in which they were
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1   communicated, if it was more than just a mere suggestion, they

       2

       3   important.

       4                The use of law school email systems has to be

       5   considered within the practice of the legal community going

       6   back since emails started being a thing.        For example, I was a

       7   public defender and used dot gov emails.        They were not my

       8

       9                                                         -- we all operate

      10   when it comes to government emails or law school emails.

      11                Your Honor asked a series of questions to counsel for

      12   Chapman about, was Dr. Eastman authorized for this?          Was he

      13

      14   clear.

      15                Our position is, first, that there was no mechanism

      16   in place to request such authorization nor was that a common

      17   practice either for Dr. Eastman himself or for the various

      18   other law professors at Chapman who took clients.          It was -- it

      19                          g that was done.

      20                Dr. Eastman relied on his practice of 20 years there

      21   where he could take what clients he wanted in pursuit of his

      22   teaching and scholarship.      He was rewarded for that and, in

      23   fact, he filed periodic reports --

      24   was the term, with the university detailing his representations

      25   of this person and that person testifying and so forth.
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1               And the understanding was if there was ever anything

       2   there that the university deemed improper, a violation or

       3   political activity or something like that, it could be

       4   addressed in the proper context.       And there was never any

       5   objection raised to his clients either within the auspices of

       6   the clinic or not, either pro bono or retained.         It never came

       7                                                  reports.    We have

       8                                                                          nts

       9

      10               The subject of whether Dr. Eastman was engaged in

      11   improper political activity came up several times.          Our

      12   position is very much that under IRS rules, university policy,

      13   whatever other applicable restrictions governed, representation

      14   of a client as a lawyer who happens to be running for a

      15   political office is not the same thing as political activity or

      16   electioneering or any of these terms that were thrown around.

      17               Dr.                                           He was not

      18   his campaign manager which gets him very much within the rules

      19

      20   policy and so forth.      And, in fact, we proffer

      21

      22   proffer that Dr. Eastman discussed his representation of Donald

      23   Trump with the Dean of Chapman Law School so that it was well

      24   aware that that was a client of his and the only response to

      25   him sharing that was to take the Chapman name off of
                             EXCEPTIONAL REPORTING SERVICES, INC
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       1   correspondence but still use the Chapman address.

       2               Apparently up and to that point, for outside

       3   representations, letters and briefs could say, John Eastman,

       4   care of Chapman and that would be how mail was sent and

       5   received.     And the decision was, because Donald Trump during

       6   the election was such a controversial representation, the

       7   Chapman name would be removed from the paperwork but the

       8   Chapman address could be -- remain.        So the idea that he was

       9   somehow going rogue against the wishes of the university in

      10   representing the President, absolutely not the case.

      11               And, finally, there were some statements that, oh,

      12   well, Dr. Eastman was given the chance to take off his

      13   privileged information from the servers when he left.          We

      14   dispute that as well.      The fact was he was given the

      15   opportunity to delete what he wanted to delete from the

      16   servers, was not told that regardless of the extent to which he

      17   took advantage of that opportunity, which he did in certain

      18   ways, Chapman would nonetheless retain an archived copy of

      19   everything.

      20               Tha

      21

      22

      23               THE COURT:     Counsel, thank you.

      24               MR. BURNHAM:     Thank you, Your Honor.

      25               THE COURT:     Let me turn to either Mr. Plevin or
                             EXCEPTIONAL REPORTING SERVICES, INC
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       1   Mr. Letter for any further comments.

       2               MR. PLEVIN:    Thank you, Your Honor.     Just briefly in

       3   response to the factual representations just made by

       4   Mr. Burnham, Chapman does view the representation of a

       5   candidate for political office as a violation of its rules and

       6   the IRS rules.     There was --                            dean

       7   expressly told Professor Eastman that if he was going to be

       8   representing President Trum

       9   university resources for that.

      10               And in the past, whether there was approval or not

      11   approval is not the issue.        The issue here has to do with the

      12   political bar on 501(c)(3)s.

      13               The only thing I want to ask Your Honor if in your

      14

      15   production of the documents.        On behalf of Chapman, I would

      16   request that Chapman be removed from the process and that if we

      17   produce the documents to Mr.

      18   any further production to the House be handled between the

      19   House and Dr.                         no reason that Chapman be in

      20   the middle of that.

      21               THE COURT:

      22

      23   confidence in the process.        Chapman was originally apparently

      24   designated to go through these emails and you were put in the

      25   position or you took the position of deciding what emails would
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1                                                     decision at the

       2                         going to decline that invitation.

       3               MR. PLEVIN:    Yes.   Your Honor, just a brief

       4   correction.    I think Chapman ran search terms that were

       5                                                 really have any

       6   decision-making process.      We just ran the terms and the --

       7               THE COURT:    All right, thank you.

       8               MR. PLEVIN:    -- result of that search is what it is.

       9               THE COURT:

      10

      11   argument --

      12               MR. PLEVIN:    Thank you.

      13               THE COURT:    -- and your thoughts.

      14               MR. PLEVIN:                                                Your

      15   Honor.

      16               THE COURT:    Thank you for your courtesy.

      17               Mr. Letter?

      18               MR. LETTER:    Yes, Your Honor

      19   First of all, I just got an answer from the Committee.           The

      20   Committee would like to take the -- Your Honor up on your offer

      21   that if there are disputes about the privilege claims, we

      22                                           Your Honor to make those

      23   determinations.

      24               THE COURT:    All right.    Is that acceptable also to

      25   Chapman?
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       1               MR. PLEVIN:     Yes, Your Honor.

       2               THE COURT:                                            And I

       3   want to thank both of you for getting back to me quickly on

       4   that matter.

       5               MR. LETTER:     Thank you.   And then I just want to say

       6   several very quick things just, again, so t

       7   record.

       8               First, Your Honor, we raised the possible question

       9   that if Chapman is the entity that actually makes the

      10   disclosures, would that alleviate any Fifth Amendment concerns

      11   by Professor Eastman because Chapman would be making the

      12   production, not Mr. -- not Professor Eastman.

      13               Second, I have more accurate information on two

      14   questions you asked me and so I just wanted them to be in

      15   record.    The --

      16   counsel told us there were over 11,000 emails within the date

      17   range.    She, the general counsel, requested search terms from

      18   us to narrow the set.      We responded the same day with the

      19   search terms.       The next day, Chapman University then emailed to

      20   us, said there had been a mistake.        The actual number of emails

      21   were more like 30,000.      After running the search terms, the

      22   population was 19,620.

      23               We spoke to Chapman general counsel on January 14th

      24   to discuss ways to narrow the universe and Chapman general

      25   counsel determined she would review only what implicated
                           EXCEPTIONAL REPORTING SERVICES, INC
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       1

       2   interested in us providing any revised search terms.          The

       3   subpoena was then issued on Tuesday, January 18.

       4               As far as the -- so we heard the -- oh,

       5   As far as the question of -- earlier whether to -- Professor

       6   Chapman could -- Professor Eastman could get from Chapman the

       7   records earlier and do a privilege log, that offer was made.

       8   The last time it was made was orally in the -- at the December

       9   9th deposition.     And then -- but we never got an answer.

      10               And then we just stopped raising it because on

      11   December 14 is when Professor Chapman sued us in D.C. over the

      12   subpoena to him.     So, obviously, we stopped making the offer at

      13   that point.

      14                                                  Your Honor.

      15               THE COURT:     And, Counsel, is there anything further?

      16               MR. BURNHAM:     Just briefly.

      17   Fifth Amendment objection to complying with Your Honor

      18   just in the terms that the Court has telegraphed to us but

      19   other than that, we absolutely maintain our Fifth Amendment

      20   objections as previously stated to their fullest extent.

      21               THE COURT:     All right, thank you.    Any further --

      22   Mr. Plevin?

      23               MR. PLEVIN:     Nothing further, Your Honor.

      24               THE COURT:     And Mr. Letter?

      25               MR. LETTER:     Nothing further, Your Honor.
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       1               THE COURT:     By the way, I want to thank all of you

       2   for your courtesy.     Please stay healthy.     Please stay well.

       3   Good night.

       4               MR. BURNHAM:     Than you, Your Honor.

       5               THE CLERK:     Good-bye.

       6         (Proceeding adjourned at 5:12 p.m.)

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                                        CERTIFICATION



                       I certify that the foregoing is a correct transcript

           from the electronic sound recording of the proceedings in the

           above-entitled matter.




                                                               January 26, 2022

                        Signed                                      Dated



                                  TONI HUDSON, TRANSCRIBER




                           EXCEPTIONAL REPORTING SERVICES, INC
